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      TIMOTHY J. McILWAIN
 1    ATTORNEY AT LAW, LLC
      89 River Street #1538
 2    Hoboken, New Jersey 07030
      Tel: (877) 375-9599
 3    Fax: (609) 450-7017
      Email: Attorney@McIlwainLaw.com
 4
      JOSEPH C. CANE, JR., ESQ. (CA State Bar No. 173861)
 5    (Pro Hac Vice Application pending)
      jcane@businesslpc.com
 6    CHRISTIAN S. MOLNAR, ESQ. (CA State Bar No. 177665)
      christian@christiansmolnarlaw.com
 7    (Pro Hac Vice Application pending)
      12400 Wilshire Boulevard, Suite 1180
 8    Los Angeles, California 90025
      Tel: (310) 820-9900
 9    Fax: (310) 919-1950
10    Attorneys for Plaintiffs ASTERO, LLC, a New Jersey limited liability company, and
      ANDREA K. TANTAROS, an individual
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12
13                         THE UNITED STATES DISTRICT COURT,
14                            FOR THE DISTRICT OF NEW JERSEY
15
16
      ASTERO, LLC, a New Jersey limited            Case No.: 1:13-cv-06005-NLH-JS
17    liability company; ANDREA K.
      TANTAROS, an individual,                     CERTIFICATION OF CHRISTIAN S.
18
                                                   MOLNAR, ESQ. IN SUPPORT OF
19                  Plaintiffs,                    APPLICATION FOR ADMISSION
20
                                                   PRO HAC VICE
              vs.
21
22    TALK RADIO NETWORK
      ENTERTAINMENT, INC., an Oregon
23    corporation, MARK MASTERS, an
24    individual, and Does 1 through 10,
      inclusive,
25
26                  Defendants.
27    ////

28    ////
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             CERTIFICATION OF CHRISTIAN S. MOLNAR, ESQ. IN SUPPORT OF
                     APPLICATION FOR ADMISSION PRO HAC VICE
     Case 1:13-cv-06005-NLH-JS Document 9-1 Filed 11/08/13 Page 2 of 3 PageID: 340




 1                     CERTIFICATION OF CHRISTIAN S. MOLNAR, ESQ.
 2          I, Christian S. Molnar, declare:
 3          1.        I am the principal with the law firm Christian S. Molnar Law Corporation,
 4    which maintains an office at 12400 Wilshire Boulevard, Suite 1180, Los Angeles,
 5    California 90025.
 6          2.        I make this certification in support of the application for my admission pro
 7    hac vice.
 8          3.        I was admitted on September 18, 1995 to the Bar of the State of California,
 9    with offices located at 180 Howard Street, San Francisco, California 94105 and 1149
10    South Hill Street, Los Angeles, California 90015.
11          4.        I am currently in good standing of the Bar of the State of California I am
12    also admitted to practice in the United States District Court for the Central, Northern
13    and Southern Districts of California and the Court of Appeals of the State of California.
14          5.        There are no disciplinary proceedings pending against me in any
15    jurisdiction.
16          6.        No disciplinary proceedings were previously imposed against me in any
17    jurisdiction.
18          7.        I agree to associate in this matter with New Jersey counsel of record,
19    Timothy J. McIlwain, Esq. of Attorney at Law, LLC, in accordance with Local Rule of
20    Civil Procedure 101.1(c). Should this application be granted, a member of the Bar of
21    the State of New Jersey from Attorney at Law, LLC will be present at all proceedings,
22    will sign all pleadings, briefs and other papers filed with the Court and will assume
23    responsibility for said papers, for the conduct of this action and for my conduct.
24          8.        I agree to: (a) abide by the Court Rules for the District of New Jersey, (b)
25    notify this Court immediately of any matter affecting my standing in the Bar of the
26    State of California or any other court to which I am admitted and (c) have all pleadings,
27    briefs and other papers filed with the Court signed by an attorney of record authorized
28    to practice in the State of New Jersey.
                                                      2
           CERTIFICATION OF CHRISTIAN S. MOLNAR, ESQ. IN SUPPORT OF
                   APPLICATION FOR ADMISSION PRO HAC VICE
     Case 1:13-cv-06005-NLH-JS Document 9-1 Filed 11/08/13 Page 3 of 3 PageID: 341




 1          9.    I am aware that I am within the disciplinary jurisdiction of this Court.
 2          10.   For the foregoing reasons I respectfully request that this Court grant my
 3    application for admission pro hac vice.
 4    Dated: November 8, 2013
 5
 6                                                    /s/Christian S. Molnar
 7
                                                      Christian S. Molnar

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          CERTIFICATION OF CHRISTIAN S. MOLNAR, ESQ. IN SUPPORT OF
                  APPLICATION FOR ADMISSION PRO HAC VICE
